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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK



NIKE, INC and CONVERSE, INC.,

Plaintiffs,                                          Case No. 13 Civ. 8012 (CM) (DCF)
v.

Maria WU et al.

Defendants.




 BANK OF CHINA’S NOTICE OF JOINDER IN NON-PARTIES AGRICULTURAL
  BANK OF CHINA, BANK OF COMMUNICATIONS, CHINA CONSTRUCTION
 BANK, CHINA MERCHANTS BANK, INDUSTRIAL AND COMMERICAL BANK
 OF CHINA LIMITIED’S MOTION TO QUASH AND MODIFY THE FINAL ORDER

        PLEASE TAKE NOTICE that Non-Party Bank of China, by and through its

undersigned counsel, hereby joins Non-Parties Agricultural Bank of China, Bank of

Communications, China Construction Bank, China Merchants Bank, Industrial and

Commercial Bank of China Limited (collectively, the “Banks”) in their Motion to Quash

Subpoenas and to Modify the Final Order (“Motion”) filed in this court on February 14, 2018.

(ECF No. 70). Bank of China also submits the accompanying Declarations of Jing Xue (Bank

of China Head Office) and Wesley Chen (Bank of China, New York Branch) in support of the

Motion.

        PLEASE TAKE FURTHER NOTICE that Bank of China joins the Banks in

requesting that oral argument be heard on the Motion at the hearing before this Court

scheduled for June 20, 2018.
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                                      Respectfully submitted,

Dated: April 27, 2018                 /s/ David G. Hille
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                                      Attorneys for Agricultural Bank of
                                      China, Bank of China, Bank of
                                      Communications, China Construction
                                      Bank, China Merchants Bank, Industrial
                                      & Commercial Bank of China Limited
